                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

WILLIAM BARNHOUSE,
          Plaintiff,                                 CASE NO. 1:19-cv-00958-TWP-DLP

v.

CITY OF MUNCIE,
FONDA KING, STEVE STEWART,
GORDON WATTERS, STEVE BLEVINS,
DONALD BAILEY, TERRY WINTERS,
CARL SOBIERALSKI, AS-YET
UNIDENTIFIED MUNCIE POLICE
OFFICERS, AND AS-YET
UNIDENTIFIED EMPLOYEES OF THE
INDIANA STATE POLICE CRIME LAB,
           Defendants.

                             MOTION TO WITHDRAW APPEARANCE

       Comes now Scott E. Shockley of DeFur Voran LLP, and moves the Court for leave to

withdraw his appearance on behalf of Defendant Carl Sobieralski for the reason that his

appearance for this Defendant was in error.

                                              DEFUR VORAN LLP

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                                CERTIFICATE OF SERVICE

        I certify that on this 13th day of May, 2019 a copy of this Motion was served
electronically by the Court’s electronic filing service on:

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                                                 /s/ Scott E. Shockley
                                                 Scott E. Shockley
